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                        UNITED STATES DISTRICT COURT
                         FLORIDA SOUTHERN DISTRICT
                            PALM BEACH DIVISION

   DANIEL ROBLES,                                       CASE NO.:

          Plaintiff,

   v.

   FOTO BOYZ INC.
   a Florida Profit
   Corporation,

           Defendant.
                                           /


                       COMPLAINT & DEMAND FOR JURY TRIAL


          Plaintiff, DANIEL ROBLES (“Plaintiff” or “ROBLES”), by and through
   undersigned counsel, files this Complaint against Defendant, FOTO BOYZ INC.
   (“Defendant” or “FB”), and states as follows:

                                     NATURE OF THE SUIT


           1.     This action is brought under the Fair Labor Standards Act (“FLSA”) to recover
   from Defendant overtime compensation, lost wages including front and back pay, liquidated
   damages, reasonable attorneys’ fees and costs, and any other damages permitted by law.

                         PARTIES, JURISDICTION, AND VENUE



          2.      Plaintiff was an employee who performed camp staff services on behalf of
   Defendant in Palm Beach County, Florida.
          3.      FB is a Florida Profit Corporation located in Palm Beach County, Florida,
   and which, at all times relevant, performed work in Palm Beach County, Florida.


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          4.      Jurisdiction is proper in this Court, as the claims are brought pursuant to the
   Fair Labor Standards Act, as amended (29 U.S.C. § 201, et seq., hereinafter “FLSA”), to
   recover unpaid overtime wages, an additional equal amount as liquidated damages, to obtain
   declaratory relief, and reasonable attorneys’ fees and costs.
          5.      Venue is proper in this Court, as the actions giving rise to this lawsuit
   occurred in Palm Beach County, Florida.

                                      FLSA COVERAGE


          6.      At all times material hereto, Defendant was, and continues to be an
   “employer” within the meaning of 29 U.S.C. § 203(d).
          7.      At all times material hereto, Plaintiff was an “employee” within the meaning
   of the FLSA.
          8.      At all times material hereto, Defendant was Plaintiff’s “employer” within the
   meaning of the FLSA.
          9.      Based upon information and belief, the annual and gross revenue of
   Defendant was in excess of $500,000.00 per annum during all times relevant.
          10.     At all times material hereto, Defendant was, and continues to be, an
   “enterprise engaged in commerce” or in the production of goods for commerce as defined
   by the FLSA.
          11.     At all times material hereto, Defendant was primarily engaged in providing,
   among other things, photo booth rentals, game rentals, and marketing services in Palm Beach
   County, Florida.
          12.     At all times material hereto, Plaintiff was “engaged in commerce” within the
   meaning of § 6 and § 7 of the FLSA, but not for purposes of the Motor Carrier Act.
          13.     At all times material hereto, Plaintiff was engaged in the “production of
   goods for commerce” and subject to the individual coverage of the FLSA, but not for
   purposes of the Motor Carrier Act.

          14.     At all times material hereto, Defendant had two (2) or more employees
   handling, selling, or otherwise working on goods or materials that had been moved in or

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   produced for commerce, such as photo booths, cameras, and other photographic equipment, but
   which had come to rest within its location in Palm Beach County, Florida.

                                  FACTUAL ALLEGATIONS


            15.    Plaintiff began working orked for Defendant from November 2021 and is
   currently employed there.
            16.    Plaintiff always worked in Palm Beach County, Florida, and his activities
   were at all times controlled and closely supervised by Defendant’s managers and
   supervisors.
            17.    Though called an “Operations Manager,” by Defendant, Plaintiff did not
   engage in the managerial duties necessary to be classified as an exempt employer under
   the FLSA.
            18.    Plaintiff had no authority to hire or fire employees of FB.


            19.    Plaintiff had no authority to discipline employees of FB.


            20.    Plaintiff had no authority to determine the schedules to be worked by any
   employees of FB, or to change the schedules.
            21.    Plaintiff had no authority to set rates of pay for other employees or agents of
   FB.
            22.    Plaintiff had no input into performance reviews of other employees or
   agents of FB.
            23.    All of Plaintiff’s major decisions had to be cleared in advance by one of
   FB’s supervisors.
            24.    Plaintiff was closely monitored by FB’s managers and supervisors at all
   times.
            25.    Plaintiff followed procedures established by FB and did exactly as he was
   instructed to do.
            26.    It is clear that Plaintiff misclassified Defendant as an exempt employee in

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   violation of the FLSA.
          27.      Throughout Plaintiff’s employment, Defendant regularly required Plaintiff
   to work in excess of forty (40) hours per week.
          28. Defendant paid Plaintiff a flat rate of $1,100.00 per week, regardless of how
   many hours he worked.
          29. Since November 2021, Plaintiff regularly worked an average of seventy-two
   (72) or more hours per week for Defendant.
          30.      Defendant failed to pay Plaintiff full and proper overtime compensation for
   all hours worked over forty (40) per week during the above-noted time period, instead
   paying him a flat rate of $1,100 per week.
          31.      In other words, Defendants unlawfully paid Plaintiff $15.28 for all his ours
   worked, including hours worked in excess off forty (40).
          32.      When Plaintiff worked more than forty (40) hours in a given work week,
   Defendant failed to properly pay him for all overtime hours worked.

          33.      Plaintiff should have been compensated at the rate of one and one-half times
   Plaintiff’s regular rate for all hours that Plaintiff worked in excess of forty (40) hours per
   week, as required by the FLSA, throughout his employment.
          34.      Defendant violated Title 29 U.S.C. §207 in that:


          (a) Plaintiff worked in excess of forty (40) hours in one or more workweeks for his
                period of employment with Defendant;
          (b) No payments or provisions for payment have been made by Defendant to
                properly compensate Plaintiff at the statutory rate of one and one-half times
                Plaintiff’s regular rate for all hours worked in excess of forty (40) hours per
                work week, as provided by the FLSA; and
          (c) Defendant failed to maintain proper time records as mandated by the FLSA.


          35.      Taking an average of thirty (30) overtime (“OT”) hours per week, Plaintiff is
   owed 32 OT hours x $7.64 per hour totaling $244.48 per week. Plaintiff estimates
   approximately 38 weeks remain in the operative FLSA statute of limitations. As such

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   Plaintiff is owed a total of $244 x 38 = $9,290.24 in unliquidated overtime damages, and
   $18,580.48, in liquidated damages plus attorneys’ fees and costs.
           36.     Prior to violating the FLSA, Defendant did not consult with an attorney to
   evaluate whether Plaintiff’s actual job duties and pay structure rendered him exempt from
   recovering payment for all overtime worked under the FLSA.
           37.     Prior to violating the FLSA, Defendant did not consult with the DOL to
   evaluate whether Plaintiff’s actual job duties and pay structure rendered him exempt from
   recovering payment for all overtime worked under the FLSA.
           38.     Prior to violating the FLSA, Defendant did not consult with an accountant to
   evaluate whether Plaintiff’s actual job duties and pay structure rendered him exempt from
   recovering payment for all overtime worked under the FLSA.
           39.     Based on the allegations in Paragraphs 36-38, above, Plaintiff is entitled to
   liquidated damages, as Defendant has no objective or subjective good faith belief that its
   pay practices were in compliance with the FLSA.
           40.     Plaintiff continues to suffer damages based on Defendant’s unlawful pay
   practices.

           41.     Plaintiff has retained the law firm of RICHARD CELLER LEGAL, P.A. to
   represent him in the litigation and has agreed to pay the firm a reasonable fee for its
   services.
                                            COUNT I
         VIOLATION OF 29 U.S.C. §207 OVERTIME COMPENSATION


           42.     Plaintiff reincorporates and re-alleges paragraphs 1 through 41, above, as
   though set forth fully herein, and further alleges as follows:
           43.     Plaintiff is entitled to be paid time and one-half his regular rate of pay for
   each hour worked in excess of forty (40) per work week.
           44.     During Plaintiff’s employment with Defendant, Plaintiff regularly worked
   overtime hours, but was not paid full and proper time-and-one-half compensation for all
   hours worked.
           45.     Plaintiff was not an exempt employee as defined by the FLSA.

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          46.     As a result of Defendant’s intentional, willful, and unlawful acts in refusing
   to pay Plaintiff time and one half his regular rate of pay for each hour worked in excess of
   forty (40) per work week in one or more work weeks, Plaintiff has suffered damages in
   addition to incurring reasonable attorneys’ fees and costs.
          47.     As a result of Defendant’s willful violation of the FLSA, Plaintiff is entitled
   to liquidated damages.


          WHEREFORE, Plaintiff respectfully requests that judgment be entered in his
   favor against Defendant, and that this Court:


                  a. Declare, pursuant to the FLSA that the acts and practices complained of
                      herein are in violation of the maximum hour provisions of the FLSA;
                  b. Award Plaintiff overtime compensation in the amount due to his for time
                      worked in excess of forty (40) hours per work week;
                  c. Award Plaintiff liquidated damages in an amount equal to the overtime
                      award;
                  d. Award Plaintiff reasonable attorney’s fees and costs and expenses of the
                      litigation pursuant to 29 U.S.C. §216(b);
                  e. Award Plaintiff pre-judgment interest; and order any other and further
                      relief that the Court deems just and proper.

                                          JURY DEMAND

          Plaintiff demands trial by jury on all issues so triable as a matter of right by
          jury.

          DATED this 15th day of August, 2022.

                                         Respectfully Submitted,
                                         By: /s/Noah Storch
                                         Noah E. Storch, Esq.
                                         Florida Bar No.
                                         0085476
                                         RICHARD CELLER LEGAL,

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